       2:22-cv-01307-RMG       Date Filed 06/16/23     Entry Number 117        Page 1 of 1




                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA

  NAUTILUS INSURANCE COMPANY,
                                                           C/A No.: 2:22-cv-1307-RMG
                       Plaintiff,
  v.

  RICHARD ALEXANDER MURDAUGH,                            NOTICE OF REQUEST FOR
  SR., CORY FLEMING, MOSS & KUHN,                       PROTECTION FROM COURT
  P.A., CHAD WESTENDORF, and                                 APPEARANCES
  PALMETTO STATE BANK,

                      Defendants.

        PLEASE TAKE NOTICE that Clinton T. Magill, Esquire, of Epting & Rannik, LLC,

attorney for Nautilus Insurance Company, respectfully moves this Court for an Order of

Protection from being called to trial or having any motions or other hearings scheduled before

this Honorable Court for the period of August 17, 2023 through September 3, 2023, for

honeymoon/vacation.



                                                Respectfully submitted:

This 16th day of June, 2023                     /s/ Clinton T. Magill
Charleston, South Carolina                      EPTING & RANNIK, LLC
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                                                Jaan G. Rannik (Fed. ID No. 12621)
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                                                COUNSEL FOR NAUTILUS INSURANCE
                                                COMPANY




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